                 IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                 Civil Action No: 1:20-CV-1100



AMY SIMPSON,                                 )
                                             )
         Plaintiff,                          )
                                             )                 COMPLAINT
v.                                           )
                                             )
                                             )
ROCKINGHAM COUNTY BOARD,                     )
OF ELECTIONS,                                )
ROCKINGHAM COUNTY,                           )
BONNIE PURGASON and TONI REECE, )
in their official capacity and individually, )
                                             )
         Defendants.                         )



       Plaintiff, Amy Simpson, complaining of defendants, does hereby state and allege the

following:

                                             ACTION

       1.      Plaintiff served as the Senior Deputy Director of the Rockingham County Board

of Elections (RCBOE), until her recent termination on September 29, 2020. Plaintiff institutes

this action to address retaliation against her by the defendants for her exercise of free speech in a

private conversation. Because of the defendants’ actions, Plaintiff has lost her job, her full

retirement and other benefits and has been subjected to severe damages to her reputation and

career, as more fully set out below. Plaintiff has been deprived of her right to free speech and

other rights guaranteed by the United States and North Carolina Constitutions, and the law of

North Carolina, including N.C. Gen. Stat. § 163-39.


                                                 1



        Case 1:20-cv-01100-UA-JEP Document 1 Filed 12/09/20 Page 1 of 12
                                  JURISDICTION AND VENUE

       2.        Plaintiff brings this action pursuant to 42 U.S.C. § 1983, and the Constitution and

common law of North Carolina. Jurisdiction of this Court is invoked pursuant to 42 U.S.C. §

1983, 28 U.S.C. § 1331, and the doctrine of supplemental jurisdiction, 28 U.S.C. § 1367.

       3.        The unlawful practices alleged below were committed within the Middle District

of North Carolina, and venue is therefore proper in this Court pursuant to 28 U.S.C. § 1391.

                                             PARTIES

       4.        Plaintiff, Amy Simpson, is, and was at all times relevant to this matter, a citizen

of the United States and a resident of Rockingham County, North Carolina.

       5.        The defendant RCBOE is a board duly established and existing pursuant to

Chapter 163 of the North Carolina General Statutes, as defined and described in N.C. Gen. Stat.

§ 163-30. In the exercise of its statutory powers, defendant RCBOE operates as county board of

elections in Rockingham County. At all times relevant hereto, defendant RCBOE acted through

its board members, particularly defendants Bonnie Purgason and Toni Reece; and the acts,

edicts, and practices of these persons represent the official policies of defendant RCBOE. At all

times relevant hereto, defendant RCBOE was a “person” within the meaning and definition of 42

U.S.C. § 1983.

       6.        The defendant Rockingham County (“the County”) is a body politic and corporate

entity created by the North Carolina General Statutes, and is vested with the property and rights

of property belonging to the County. Under the County name, the County may sue and be sued

as authorized by N.C. Gen. Stat. § 153A-11.

       7.        Upon information and belief, the defendant Bonnie Purgason is a resident of

Rockingham County, North Carolina. At all times relevant to this matter, defendant Purgason



                                                  2



       Case 1:20-cv-01100-UA-JEP Document 1 Filed 12/09/20 Page 2 of 12
held the position of board member of the RCBOE. Defendant Purgason is sued in her official

capacity as member of the RCBOE and in her individual capacity.

        8.     Upon information and belief, the defendant Toni Reece is a resident of

Rockingham County, North Carolina. At all times relevant to this matter, defendant Reece held

the position of board member of the RCBOE and served as board secretary. Defendant Reece is

sued in her official capacity as member of the RCBOE and in her individual capacity.

                                            FACTS

        9.     Since 2018 until her termination on September 29, 2020, Plaintiff was Senior

Deputy Director of the RCBOE. In that capacity, Plaintiff has been a dual employee of both the

RCBOE and the County in that her job description and title have been established by the

RCBOE, while her salary, retirement, longevity, and health benefits are controlled by the

County.

        10.    The County currently denies that the County employment policies have any

application to Plaintiff’s termination of employment at issue here. However, in the past the

County has in fact applied its employment policies to Plaintiff in her role as RCBOE Senior

Deputy Director.

        11.    Plaintiff has been a dedicated public servant throughout her distinguished career,

characterized by hard work, attention to detail, and conscientious duty. Her annual appraisals

have consistently been outstanding throughout her service in the North Carolina Department of

Corrections, the Rockingham County Register of Deeds Office, and the RCBOE. At the time of

her termination of employment, Plaintiff was ten months shy of her full County retirement

eligibility.




                                               3



         Case 1:20-cv-01100-UA-JEP Document 1 Filed 12/09/20 Page 3 of 12
       12.     Plaintiff began employment with RCBOE on August 20, 2018, as Senior Deputy

Director. On or about March 16, 2020, the RCBOE County Director effectively retired, no

longer coming into the office. As a result and at that time Plaintiff, assumed the duties of County

Director. From March 2020 until September 29, 2020, Plaintiff acted in the role of County

Director. Plaintiff served as the only RCBOE employee from March 2020 until June 15, 2020,

when the RCBOE hired a second fulltime employee, whom Plaintiff trained and supervised.

Plaintiff undertook the duties of County Director with no increase in pay or benefits

commensurate with the County Director’s duties.

       13.     On September 29, 2020, the defendants held a board meeting ostensibly for the

purpose of counting absentee ballots.     With no prior notice to Plaintiff of any employment

matter that may relate to her, the defendants entered into an Executive Session with the County

attorney. After 30 to 45 minutes, the defendants called Plaintiff into the Executive Session and

questioned her about a private conversation that she had with her doctor, not intended for general

public distribution.   The defendants questioned Plaintiff as to whether she thought her

conversation with her doctor violated N.C. Gen. Stat. § 163-39.               Plaintiff responded

unequivocally, “No.” After returning to the open session, the defendant Purgason made a motion

to terminate Plaintiff’s employment. The defendant Reece seconded the motion. The defendants

thereafter terminated Plaintiff’s employment by a vote of 4-1.

       14.     Upon information and belief, a few days prior to this meeting, the defendants

Purgason and Reece visited Plaintiff’s doctor to inquire about a private, individual conversation

that occurred between Plaintiff and her doctor, not intended for general public distribution.

During said conversation, in exercising her free speech rights, Plaintiff asked her doctor, “If a




                                                4



       Case 1:20-cv-01100-UA-JEP Document 1 Filed 12/09/20 Page 4 of 12
friend could put a sign up outside his office like you had allowed me to do.” Plaintiff’s doctor

replied, “Sure.”

       15.      Upon information and belief, the defendants Purgason and Reece, and others,

engaged in an unlawful plan to terminate Plaintiff’s employment based upon Plaintiff’s

individual expression of free speech to her doctor.

       16.      In terminating Ms. Simpson from her role as Senior Deputy Director for the

RCBOE, the defendants acting under the color of law in their official capacities, and defendants

Purgason and Reece acting individually, relied upon Plaintiff’s expression of free speech as a

pretext for firing Plaintiff. Plaintiff’s words to her doctor were not intended for general public

distribution, and were specifically protected under N.C. Gen. Stat. § 163-39, as well as the

federal and state Constitutions.

       17.      Upon information and belief, the defendants have waived sovereign or

governmental immunity, to the extent necessary as applied to the claims herein, through the

purchase of one or more policies of liability insurance pursuant to N.C. Gen. Stat. § 160A-485,

and/or by participating in a local government risk pool pursuant to N.C. Gen. Stat. § 58-23-5.



                                FIRST CLAIM FOR RELIEF
                        First Amendment Violations – U.S. Constitution
                                     42 U.S.C. § 1983

       18.      Plaintiff hereby incorporates by reference the above paragraphs as if fully set

forth herein.

       19.      As set forth above, Plaintiff engaged in protected activity in that she exercised her

Constitutional rights to free speech, as guaranteed by the First Amendment of the United States




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        Case 1:20-cv-01100-UA-JEP Document 1 Filed 12/09/20 Page 5 of 12
Constitution, in speaking with another individual in a private conversation, not intended for

general public distribution.

       20.     Plaintiff’s Constitutional rights were clearly established at the time of defendants’

violations, and reasonable board members in defendants Purgason and Reece’s positions knew or

should have known that their conduct violated Plaintiff’s rights.

       21.     Plaintiff’s private conversation with her doctor was not part of Plaintiff’s official

duties or within the scope of her employment as Senior Deputy Director of the RCBOE.

       22.     In taking the actions, as described above, Plaintiff exercised her right to free

speech in a conversation not intended for general public distribution.

       23.     Plaintiff’s conversation with her doctor qualified as speech protected by the state

and federal Constitutions in that her speech related to a matter of public concern (the election

process), was spoken in a private discussion not associated with her workplace, and was the

motivating or “but for” factor causing her discharge from employment.                   Under these

circumstances, the interests of Plaintiff and the community in the exercise of free speech

concerning the political process far outweigh any interest of the defendants in maintaining an

efficient workplace.

       24.     In their termination of Plaintiff, the defendants, acting under color of state and

local law, denied plaintiff her Constitutional right to free speech and retaliated against her for the

exercise of her rights, guaranteed by the First Amendment of the United States Constitution, in

violation of 42 U.S.C. § 1983 and N.C. Gen. Stat. §163-39.

       25.     As a proximate result of said violations, Plaintiff has suffered and incurred

substantial damages, and is entitled to punitive damages and equitable relief, as more fully

described below.



                                                  6



        Case 1:20-cv-01100-UA-JEP Document 1 Filed 12/09/20 Page 6 of 12
                                 SECOND CLAIM FOR RELIEF
                            Free Speech Violations – N.C. Constitution
                                   Article I, Sections 1 and 14

       Pursuant to Rule 8(d) of the Federal Rules of Civil Procedure, Plaintiff states the

following claim against the defendant RCBOE and the individual defendants in their official

capacities, alternatively to Plaintiff’s Third Claim for Relief below:

       26.      Plaintiff hereby incorporates by reference the above paragraphs as if fully set

forth herein.

       27.      As set forth above, when Plaintiff engaged in a private conversation with her

doctor, Plaintiff engaged in protected activity in that she exercised her State Constitutional rights

to free speech, as guaranteed by Article I, §§ 1 and 14 of the North Carolina Constitution and

N.C. Gen. Stat. § 163-39.

       28.      Plaintiff’s State Constitutional rights were clearly established at the time of

defendants’ violations, and reasonable board members in defendants Purgason and Reece’s

positions knew or should have known that their conduct violated Plaintiff’s rights.

       29.      Plaintiff’s conversation with her doctor was not part of Plaintiff’s official duties

or within the scope of her employment as Senior Deputy Director of the RCBOE.

       30.      In speaking with her doctor in a private conversation not intended for general

public distribution, Plaintiff exercised her right to free speech regarding an individual expression

of opinion and support.

       31.      In their termination of Plaintiff, the defendants, acting under color of state and

local law, denied to Plaintiff her State Constitutional right to free speech, guaranteed by §§ 1 and

14 of Article I of the North Carolina Constitution and denied Plaintiff her protection under N.C.

Gen. Stat. § 163-39.



                                                 7



        Case 1:20-cv-01100-UA-JEP Document 1 Filed 12/09/20 Page 7 of 12
        32.     To the extent plaintiff’s Third Claim for Relief is barred by the defense of

governmental immunity, Plaintiff alleges that she has no adequate remedy under state law for the

defendants’ violation of her rights to free speech, as alleged herein.

        33.     As a proximate result of said violations, Plaintiff has suffered and incurred

substantial damages, and is entitled to punitive damages and equitable relief, as more fully

described below.

                                THIRD CLAIM FOR RELIEF

                            Wrongful Discharge Against Public Policy

        34.     Plaintiff hereby incorporates by reference the above paragraphs as if fully set

forth herein.

        35.     Pursuant to Rule 8(d) of the Federal Rules of Civil Procedure, Plaintiff states the

following claim alternatively to her Second Claim for Relief above:

        36.     It is the public policy of the State of North Carolina, as mandated by Article I, §

14 of the North Carolina Constitution, that employees of local government be protected from

retaliation for exercising their rights to free speech.

        37.     On September 29, 2020, the defendants discharged Plaintiff from her employment

with the RCBOE as a direct result of and in retaliation for her protected activity in engaging in a

private conversation with her doctor and for exercising her right to free speech. Plaintiff’s

conversation was not intended for general public distribution. Accordingly, the defendants’

discharge of plaintiff was wrongful and unlawful and in violation of the public policy of the State

of North Carolina.




                                                   8



        Case 1:20-cv-01100-UA-JEP Document 1 Filed 12/09/20 Page 8 of 12
       38.      As a proximate result of said violations, Plaintiff has suffered and incurred

substantial damages, and is entitled to punitive damages and equitable relief, as more fully

described below.

                              FOURTH CLAIM FOR RELIEF
                                  Unjust Enrichment

       39.      Plaintiff hereby incorporates by reference the above paragraphs as if fully set

forth herein.

       40.      During the period of her employment from on or about March 16, 2020, to her

termination, Plaintiff served the role of County Director for the defendant RCBOE, assuming the

duties and responsibilities of the County Director. In so doing, Plaintiff rendered a service to the

defendants RCBOE and to the County. At the time of her termination by the defendants,

Plaintiff’s salary, retirement and other benefits were funded by the County. Plaintiff was ten

months shy of her full County retirement eligibility when fired.

       41.      The service rendered by Plaintiff had value to the defendants RCBOE and the

County in that Plaintiff filled the Director’s role ably and responsibly without the defendants

paying a salary commensurate with said duties.

       42.      Plaintiff did not provide said services to the defendants RCBOE or the County as

a gift or in repayment of a debt, but rather Plaintiff expected to be paid for said services at a

salary level commensurate with the duties performed. Plaintiff’s expectation of payment for the

work performed was reasonable.

       43.      The defendants RCBOE and the County received the services with the knowledge

that Plaintiff was performing all the duties of a County Director and with knowledge or reason to

know that Plaintiff expected to be paid for the duties performed.




                                                 9



        Case 1:20-cv-01100-UA-JEP Document 1 Filed 12/09/20 Page 9 of 12
       44.      The defendants RCBOE and the County voluntarily accepted Plaintiff’s services

as a County Director after having a realistic opportunity to refuse them or to hire a County

Director to perform the duties performed by Plaintiff.

       45.      As a direct and proximate result of the defendant’s actions described above, the

defendants RCBOE and the County were unjustly enriched in an amount equivalent to the

reasonable salary amount of the County Director service provided by Plaintiff, less any salary in

fact paid to Plaintiff, plus all benefits associated with the County Director’s position not

otherwise provided to Plaintiff, in an amount in excess of $25,000.00.

                          DAMAGES AND INJUNCTIVE RELIEF

       46.      Plaintiff hereby incorporates by reference the above paragraphs as if fully set

forth herein.

       47.      As a proximate result of the defendants’ termination of Plaintiff, Plaintiff has

suffered substantial personal injuries and other damages in the deprivation of her Constitutional

and legal rights, and the termination of her employment, including: lost income and benefits,

including insurance, longevity and retirement; emotional distress and mental anguish; loss of

enjoyment and quality of life; damage to her employment reputation; and the potential loss of her

career. Accordingly, Plaintiff is entitled to compensatory damages in an amount in excess of

$100,000.00.

       48.      The defendants’ actions, as described above, were willful and wanton, and

evinced an intentional or reckless indifference to and disregard for the legal rights of the

Plaintiff. Accordingly, Plaintiff is entitled to punitive damages against the individual defendants

in an amount to be determined in the discretion of the jury.




                                                10



       Case 1:20-cv-01100-UA-JEP Document 1 Filed 12/09/20 Page 10 of 12
          49.    There is no fully adequate remedy at law in that Plaintiff cannot be totally

compensated in damages for the loss of her livelihood. Thus, in the absence of injunctive relief,

Plaintiff will sustain irreparable harm. Accordingly, Plaintiff should be reinstated to her position

with the RCBOE and the defendants should be enjoined from further violations of Plaintiff’s

rights.

                                     REQUEST FOR RELIEF

          WHEREFORE, Plaintiff hereby requests the following relief:

          1.     That the Court declare the termination and other actions against Plaintiff by the

defendants were in violation of Plaintiffs’ federal and state Constitutional rights to free speech,

the public policy of North Carolina and N.C. Gen. Stat. § 163-39;

          2.     That Plaintiff be reinstated to her respective position as Senior Deputy Director of

the RCBOE, with no gap in her term of service, with all retirement plans, salary, back pay,

vacation and leave days, insurance, longevity pay and benefits fully reinstated;

          3.     That Plaintiff recover from the defendants, jointly and severally, compensatory

damages in an amount in excess of $100,000.00;

          4.     That Plaintiff recover from the defendants RCBOE and the County compensatory

damages in an amount in excess of $25,000.00 due to unjust enrichment;

          5.     That Plaintiff recover punitive damages against the individual defendants in an

amount in the discretion of the jury;

          6.     That Plaintiff recover pre-judgment and post-judgment interest on all sums

recovered herein;

          7.     That Plaintiff recover the costs of this action, including reasonable attorneys’ fees

for her representation herein pursuant to 42 U.S.C. § 1988 or as otherwise allowed by law; and



                                                  11



          Case 1:20-cv-01100-UA-JEP Document 1 Filed 12/09/20 Page 11 of 12
       8.      That this Court grant such other and further relief which it deems just and proper.



                                DEMAND FOR JURY TRIAL

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a trial

by jury on issues presented herein.



       This the 9th day of December, 2020.



                                             /s/ Walter C. Holton, Jr.
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                                                12



       Case 1:20-cv-01100-UA-JEP Document 1 Filed 12/09/20 Page 12 of 12
